Case 4:11-cr-40037-SOH          Document 1531  Filed 05/28/15             Page 1 of 3 PageID #:
                                          5104



                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                         RESPONDENT


v.                              No. 4:11-cr-40037-SOH-BAB-6
                                       No. 4:14-cv-4068

MARCUS SIMS                                                                            MOVANT


             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

       Before the Court is the Motion for Summary Judgment (ECF No. 1517) filed herein by

MARCUS SIMS, (hereinafter referred to as “Sims”). Sims is currently incarcerated at the Bastrop

Federal Correctional Institution, Bastrop, Texas. The Motion was referred for findings of fact,

conclusions of law and recommendations for the disposition of the case. No Response has been filed

and none is required for disposition of this Motion. The Court has considered the entire record and

as set out below recommends this Motion for Summary Judgment be DENIED.

1. Procedural Background:

       Sims is currently serving a sentence of 78 months imprisonment.1 ECF No. 1439. He filed

a timely Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §2255 on April 28, 2014.

ECF No. 1319. On February 18, 2015, the undersigned entered a Report and Recommendation

recommending denial of said Motion. ECF No. 1470. Sims objected to the recommendation. ECF

No. 1500. The instant Motion for Summary Judgment was filed on April 30, 2015.



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               For more complete procedural background please see the Report and Recommendation filed
      by the undersigned on February 18, 2015. ECF No. 1470.

                                                -1-
Case 4:11-cr-40037-SOH          Document 1531  Filed 05/28/15              Page 2 of 3 PageID #:
                                          5105



2. Instant Motion:

       In the instant Motion Sims requests summary judgment be entered as to two of the claims

made in his Section 2255 Motion, namely (1) the issue of his maintaining a drug premises within

1000 feet of a public housing authority and (2) a three level increase to his total offense level for

relevant conduct. He also asserts his counsel was ineffective at the underlying criminal case. He

essentially asks the Court to grant his Section 2255 Motion.

3. Discussion:

       The issues raised in this Motion for Summary Judgment are the same as issues raised in the

Section 2255 Motion. The Report and Recommendation previously entered in this case addressed

these very issues. The Report and Recommendation also addressed his claims of ineffective

assistance of counsel.

       On April 30, 2015, United States District Judge Susan O. Hickey, reviewed the Report and

Recommendation as well as Sims’s objections and entered her Order adopting the Report and

Recommendation and denying Sims’s Section 2255 Motion. Judge Hickey also determined no

certificate of Appealability should issue in this matter. ECF No. 1519.

       Accordingly, the instant Motion for Summary Judgment is moot and should be denied.

4. Recommendation:

       Accordingly, based on the foregoing, it is recommended the instant Motion for Summary

Judgment (ECF No. 1517) be DENIED.

       The parties have fourteen (14) days from receipt of our report and recommendation in

which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

objections may result in waiver of the right to appeal questions of fact. The parties are


                                                 -2-
Case 4:11-cr-40037-SOH       Document 1531  Filed 05/28/15         Page 3 of 3 PageID #:
                                       5106



reminded that objections must be both timely and specific to trigger de novo review by the

district court.

       DATED this 28th day of May 2015.


                                           /s/ Barry A. Bryant
                                          HON. BARRY A. BRYANT
                                          U.S. MAGISTRATE JUDGE




                                           -3-
